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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                 CLERKS MINUTES


CASE NO. 5:21-cr-9                                      DATE: 4/28/2023

TITLE: United States of America v. Maria Leticia Patricio, et al.

HONORABLE BENJAMIN W. CHEESBRO                   COURTROOM DEPUTY: KIM MIXON

COURT REPORTER: N/A                TIME: 10:00 a.m.-10:37 a.m. TOTAL: 37 minutes


PLAINTIFF:                                              COUNSEL FOR PLAINTIFF:

United States of America                                Tania Groover

DEFENDANTS:                                             COUNSEL FOR DEFENDANTS:

Maria Leticia Patricio                                  Juanita Holsey
Antonio Chavez Ramos                                    Jessica Stern
Margarita Rojas Cardenas                                Brian Fenton McEvoy
Charles Michael King                                    Jack Downie
Daniel Mendoza                                          Kimberly Copeland
Delia Ibarra Rojas                                      Katie Brewington
Enrique Duque Tovar                                     DeLeigh Poole
Esthar Ibarra Garcia                                    Whitney Johnson
Gumara Canela                                           Graham Floyd
JC Longoria Castro                                      Brian Tanner
Juan Francisco Campos                                   Paul Kish
Juana Ibarra Carrillo                                   William Joseph Turner
Linda Jean Facundo                                      Kathy Griffin
Luis Alberto Martinez                                   Jason Moon
Nere Rene Carrillo Najarro                              Marc Metts
Rosalva Garcia Martinez                                 Tina Maddox
Stanley Neal McGauley                                   Jason Nix
Donna Michelle Rojas                                    E. Jay Abt
Carla Yvonne Salinas                                    Dennis O’Brien
Brett Donavan Bussey                                    Tom Withers


TELEPHONIC STATUS CONFERENCE
Telephonic Status Conference regarding discovery and scheduling.
Court reviews the current schedule in the case.
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Government provides update on production of discovery materials. Government is in the
process of putting together load file for disclosure to the defense. The load file should be
available in 3-5 weeks. Government maintains the case should remain on current schedule.
Court addresses each participating defense attorney.
Defense counsel Juanita Holsey requests additional time to file pretrial motions based on
Government’s time frame of 3-5 weeks before load file is available. All defense attorneys
(except Tom Withers on behalf of Defendant Bussey) join in the request for additional
time. Some defense attorneys seek a pretrial motions deadline in August or September;
others request a deadline in October or November. Court will take matter under
advisement.
As to Defendant Brett Donavan Bussey’s Motion for Identification of the Specific
Documents Which the Government Expects to Introduce in Its Case-In-Chief at Trial, doc.
549, all other defendants join in the motion. Court advises the matter is fully briefed.
However, Court intends to conduct an in-person hearing on the motion. Parties will
provide available dates to the Court. A representative from the Governments electronic
discovery team will be required to participate in the hearing, as will the appointed defense
coordinating attorney.
